Case 23-34815 Document 892-9 Filed in TXSB on 12/10/24 Page 1 of 4




                         EXHIBIT 9
       Case 23-34815 Document 892-9
                              826-3 Filed in TXSB on 12/10/24
                              848-3                  11/20/24 Page 2 of 4
                                                     12/04/24




By First-Class Mail, Certified Mail—Return Receipt Requested, and In-Person Delivery

November 18, 2024

Jetall Companies, Inc.
2425 West Loop South
Suite 1100
Houston, TX 77027

        NOTICE TO VACATE pursuant to Texas Property Code § 24.005

        NOTICE OF EVICTION pursuant to Texas Property Code § 24.005

        DEMAND FOR POSSESSION pursuant to Texas Property Code §§ 24.002, 24.005

        NOTICE OF TERMINATION OF LEASEHOLD pursuant to Texas Property Code §
        91.001

Dear Jetall Companies, Inc.:

        As Jetall Companies, Inc. (“Jetall”) knows, the property at 2425 West Loop South, Houston
Texas 77027 (the “Property”) was the principal asset of Galleria 2425 Owner LLC (the “Former
Owner”). As Jetall also knows, the Former Owner filed for bankruptcy in the matter styled: Case
No. 23-34815-JPN (the “Bankruptcy Case”). On July 8, 2024, the Bankruptcy Court issued a Sale
Order that, inter alia, approved sale of the Property “free and clear of any and all interests,
including all liens, claims, and encumbrances,” 1 which includes any lease that Jetall claims to have
or ever had relating to Suite 1100 of the Property (or any other portion of the Property). Pursuant
to the terms of the Sale Order and other rulings in the Bankruptcy Case, on August 20, 2024, the
Property sold to Houston 2425 Galleria, LLC, a Delaware limited liability company (the “New
Owner”).

        Jetall had notice of and participated in the Bankruptcy Case, and specifically, Jetall had
notice of the Sale Order to which Jetall did not object. As a result, Jetall is well aware of the Sale
Order and its provisions, including the following, which compels Jetall to surrender its possession
of Suite 1100:




1
         See Order (A) Approving Asset Purchase Agreement Between the Trustee and QB Loop Property LP; (B)
Approving the Sale of the Property Free and Clear of all Liens, Claims, Encumbrances, and Other Interests; (C)
Approving Assumption and Assignment of Executory Contracts and Leases; (D) Determining the amounts necessary
to cure such Executory Contracts, and Unexpired Leases; and (E) Granting Related Relief, (defined in Plaintiff’s
Termination Brief as the “Sale Order”) (Document No. 608 in the Bankruptcy Case”)
       Case 23-34815 Document 892-9
                              826-3 Filed in TXSB on 12/10/24
                              848-3                  11/20/24 Page 3 of 4
                                                     12/04/24




       The Sale Order also specifically prohibits Jetall from interfering with the New Owner’s
“use and enjoyment” of the Property:




       Nevertheless, in open defiance of the Sale Order and the Bankruptcy Court, that is exactly
what Jetall has done and continues to do. New Owner demands that Jetall immediately surrender
possession of Suite 1100 and any other interests that it may claim to have to the Property.

          In addition to Jetall’s notice of the Sale Order, New Owner has previously provided
sufficient notice to Jetall warranting immediate eviction of Jetall from the Property to the extent
required. On September 3, 2024 and again on September 9, 2024, the New Owner served Jetall
with notice to vacate the Property. Jetall still refuses to comply. Jetall answered, appeared for,
and participated (through counsel) in a state court eviction proceeding: cause number
241100353166 (the “Eviction Proceeding”). In the Eviction Proceeding, the presiding judge found
that it lacked jurisdiction. Regardless of whether this decision was correct or even if any additional
notice to Jetall is even required, New Owner provides the following Notices and Demands to Jetall
out of an abundance of caution, and without any admission that any such additional Notices or
Demands are required to compel Jetall to vacate the property:

                                      Section 91.001 Notice
        As a result of the Bankruptcy Case and its associated orders, including the Sale Order, Jetall
does not have a valid lease for Suite 1100 of the Property or any right to possession with respect
to the Property. Nevertheless, out of an abundance of caution, the New Owner hereby provides
       Case 23-34815 Document 892-9
                              826-3 Filed in TXSB on 12/10/24
                              848-3                  11/20/24 Page 4 of 4
                                                     12/04/24




Jetall with notice, pursuant to § 91.001 of the Texas Property Code, and demands that Jetall vacate
the Property by December 18, 2024 (30 days from the date of this notice).

                                       Section 24.005(a) Notice
        In addition or in the alternative, the New Owner hereby provides Jetall with notice pursuant
to § 24.005(a) of the Texas Property Code, and hereby demands that Jetall vacate the Property by
December 18, 2024 (30 days from the date of this notice).

                                   Section 24.005(b) Notice
       In addition or in the alternative, the New Owner hereby provides Jetall with notice,
pursuant to § 24.005(b) of the Texas Property Code, and hereby demands that Jetall vacate the
Property by December 18, 2024 (30 days from the date of this notice).

                                         Section 24.002 Notice
        In addition, or in the alternative, the New Owner is entitled to possession of Suite 1100 of
the Property, in that Jetall no longer has a valid lease. Accordingly, the New Owner provides notice
pursuant to § 24.002 of the Texas Property Code, and hereby demands possession of Suite 1100
(or any other or additional portion of the Property occupied by Jetall) by December 18, 2024 (30
days from the date of this notice).

                                      Section 24.006 Notice
        The New Owner further provides this written demand to vacate pursuant to § 24.006 of the
Texas Property Code, and hereby demands possession of Suite 1100 (or any other or additional
portion of the Property occupied by Jetall). Notwithstanding the other statutory notices provided
herein, if Jetall does not vacate the Property before the 11th day from the receipt of this notice
(November 29, 2024) the New Owner will seek and may recover attorney’s fees in any ensuing
eviction suit.

       The New Owner provides these notices and makes the associated demands contained
herein without waiving any and all other remedies available at law. Without limiting the foregoing,
the New Owner reserves all rights to seek enforcement of the Sale Order in the Bankruptcy Court.


                                                     Sincerely,




                                                     NEW OWNER
                                                     Houston 2425 Galleria, LLC,
                                                     a Delaware limited liability company

                                                     Michael C. Carter
